          Case 3:14-cv-00269-MMD-CLB Document 108 Filed 08/28/20 Page 1 of 2



1    Rene L. Valladares
     Federal Public Defender
2    Nevada State Bar No. 11479
3    *Kimberly Sandberg
     Assistant Federal Public Defender
4    New York State Bar No. 5152863
     *C.B. Kirschner
5    Assistant Federal Public Defender
     Pennsylvania State Bar No. 92998
6    411 E. Bonneville Ave., Ste. 250
     Las Vegas, Nevada 89101
7
     (702) 388-6577
8    Kimberly_Sandberg@fd.org
     CB_Kirschner@fd.org
9

10   *Attorneys for Petitioner James David McClain

11

12
                            U NITED S TATES D ISTRICT C OURT
13                                D ISTRICT OF N EVADA
14

15   James David McClain,
                                               Case No. 3:14-cv-00269-MMD-CLB
16                 Petitioner,
                                               Order to Transport
17          v.
18
     Robert LeGrand, et al.,
19
                   Respondents.
20

21

22

23

24

25

26
         Case 3:14-cv-00269-MMD-CLB Document 108 Filed 08/28/20 Page 2 of 2




1          In accordance with the Orders of this Court filed on December 13, 2019, and
2    June 2, 2020 (ECF Nos. 96, 106), setting the evidentiary hearing in this matter for
3    September 23 and 24, 2020,
4          IT IS HEREBY ORDERED that the Nevada Department of Corrections will
5    transport the following inmate to the Bruce R. Thompson Federal Courthouse, 400
6    South Virginia Street, Reno, Nevada, to personally attend the evidentiary hearing
7    scheduled for September 23 and 24, 2020, at 9:00 a.m. in Courtroom 5 before the
8    Honorable Miranda M. Du: James David McClain, NDOC #1088639.
9          The Clerk of Court additionally shall provide a copy of this order to the
10   Marshal’s Reno office.
11         Dated this 28th     day of August             2020.
12

13
                                        UNITED STATES DISTRICT COURT JUDGE
14

15   Submitted by:

16   /s/
17   Kimberly Sandberg and
     C.B. Kirschner
18   Assistant Federal Public Defenders
     Attorneys for James David McClain
19

20

21

22

23

24

25

26



                                                2
